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375, Asset forth above, Fujisawa’s scheme to inflate its reported AWPs and market

the resulting spread to increase the market share of its drugs has resulted in excessive

overpayments by Plaintiffs and the Class.

L. The GSK Group (GlaxoSmithKline, SmithKline Beecham, Glaxo Wellcome)

376, The GSK Group has engaged in an organization-wide and deliberate scheme to

inflate AWPs. The GSK Group has stated fraudulent AWPs for all or almost al! of its drugs,

including those set forth below. The specific drugs manufactured and/or distributed by the GSK

Group for which relief is sought in this case are set forth in Appendix A and are identified below:

GSK GROUP Advair Diskus | salmeterol- Bronchodilator (Respiratory Agent)
(SmithKline fluticasone Used for treatment of asthma
Beecham, Agenerase amprenavir Antiviral Agent
GlaxoSmithKline and Used in treatment of HIV infection
Glaxo Wellcome)
Alkeran melphalan Antineoplastic
Used to treat ovarian cancer and a certain type
of cancer in the bone marrow
Aterge naratriptan succinate { Antimigraine Agent
Used for treatment of migraine attacks
Beconase AQ | beclomethasone And-Inflammatory Agent
dipropionate Used to treat discornfort of hay fever, other
monohydrate allergies, and other nasal problems
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Ceftin cefuroxime axetil Antibacterial Agent
Used to treat infections caused by bacteria
Combivir lamivudine- Antiviral Agent
zidovudine Used in treatment of HIV infection
Daraprim pyrimethamine Antiprotozoal

Used for treatment of malaria and other
protazoal infections

Epivir lamivudine Antiviral Agent
Used in treatment of HIV infection
Flonase fluticasone Anti-Inflammatory Agent
propionate (nasal) Used for treatment of allergic and nonallergic
rhinitis
Flovent fluticasone Antiasthmatic (Anti-Inflammatory Agent)
propionate (inh) Used for treatment of asthma
Imitrex sumatriptan or Antimigraine Agent
sumatriptan succinate | Used for treatment of migraine attacks or
cluster headaches
Kytrl granisetron bel Antiemetic (Gastrointestinal Agent)

Used to prevent the nausea and vomiting that
may occur after chemotherapy

Lamicial lamotrigine Anticonvulsant
Used to help control some types of seizures in
the treatment of epilepsy

Lanoxin digoxin Antiarrhythmic Agent (Cardiovascular Agent)

Used to improve the strength and efficiency of
the heart, or to control the rate and rhythm of
the heartbeat.

Leukeran chlorambucil Alkylating Agent (Antineoplastic)

Used to treat cancer of the blood and lymph
system

Mepron atovaquone Antiprotozoal

Used to treat and to prevent pneumonia
Myleran busuifan Antineoplastic

Used to treat some kinds of cancer of the
blood.

Navelbine vinorelbine tartrate Antineoplastic

Used for treatment of tung cancer

Paxil paroxetine hel Antianxiety agent; Antidepressant
(Psychotherapeutic Agent)

Used in the treatment of various
psychotherapeutic disorders

Purinethoi mercaptopurine Antimetabolite (Antineoplastic)

Used to treat some kinds of cancer.

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Antiviral Agent

sed in the treatment of the infection caused
by the flu virus (influenza A and influenza B).

zidovudine

Antiviral Agent
Used for treatment of HIV infection

salmeterol xinofoate

Bronchodilator (Respiratory Agent)

Used to treat or prevent symptoms of asthma,
chronic bronchitis, emphysema, and other
lung diseases

Trizivir

abacavir sulfate-
lamivudine-
zidovudine

Antiviral Agent
Used for treatment of HIV-1 infection

Valtrex.

valacyclovir hel

Antiviral Agent
Used for treatment of shingles and genital
herpes

Ventolin HFA

albuterol sulfate

Bronchodilator (Respiratory Agent)
Used for treatment or prevention of
bronchospasm

Wellbutrin

bupropion hel

Antidepressant (Psychotherapeutic Agent)
Used for treatment of depression

Zantac

Tantidine
hydrochloride

Gastrointestinal Agent
Used in the treatment of active duodenal ulcer

Ziagen

abacavir sulfate

Anti Infective Agent
Used in the treatment of HIV infection

Zofran

ondansetron hel

Antiemetic (Gastrointestinal Agent)
Used to treat or prevent the nausea and
vomiting that may occur after chemotherapy

Zofran ODT

ondansetron

Antiernetic (Gastrointestinal Agent)
Used to treat or prevent the nausea and
vomiting that may occur after chemotherapy

ZOvITaAX

acyclovir

Antiviral Agent
Used for treatment of shingles, genital herpes
and herpes simplex

Zyban

buproprion he]

Antidepressant (Psychotherapeutic Agent)
Used to relieve mental depression. Also used
to aid in cessation of smoking

thioguanine

Antineoplastic
Used to treat some kinds of cancer

1. The GSK Group Has Been the Target of Government Investigations
377. In connection with its scheme to inflate AWPs, the GSK Group has been

investigated by the United States Department of Justice, the Office of Inspector General of the

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Department of Health and Human Services, the Attormey General for the State of Texas, the
Attomey General for the State of California, and the Attorney General for the State of Nevada,
Medicaid Fraud Contro!] Unit.

378. These investigations confinn that the GSK Group has engaged in a deliberate
scheme to inflate the published AWPs for its drugs.

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Thus, by its own definition, GSK. recognizes
that: (1) AWP should be an average of actual wholesale prices; (ii) the drug manufacturers

control the published AWP; and (iii) the published AWPs directly affect the payments made by

the Class.

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384. The GSK Group tried to maximize spread because it understood that its customers
routinely engaged in “spread shopping” — comparing its AWPs with those of its competitors in
order to determine the greatest spread (and therefore sell or administer the drug with the greatest
spread).

385. Perhaps the most flagrant example of the GSK Group’s fraudulent manipulation
of AWPs is found in the documents relating to Glaxo’s Zofran® and SKB’s Kytil®. These two
drugs both minimize the nausea associated with chemotherapy, and, prior to the merger of Glaxo
and SKB, competed head-to-head in the same market. As detailed below, much of that
competition concemed which product could generate the greater spread, or profit, for

physicians; not over which product was better for patients.

5. Glaxo’s Zofran®
386, <A Glaxo marketing document, sent to its sales and marketing personnel via U.S.
Mail and interstate wire facilities, advises that they should emphasize to medical providers both

the benefits of Zofran® and the financial benefits of the spread. Specifically:

By using a 32 mg bag, the physician provides the most effective
dose to the patient and increases his or her profit by $ in
reimbursement as well as paying no upcharges for the bag or
admixing
387. A follow-up internal Glaxo memo, dated October 27, 1994, entitled “Zofran
Pricing Recommendation,” states: “Physician reimbursement for the administration of
intravenous oncology drugs is based on the spread between acquisition cost and the AWP.” The
memo later notes that “Kytril carries a 20% spread between List Price and AWP compared to
Zofran which carries a 16 2/3% spread providing SKB with a significant advantage in the clinic
setting with respect to retmbursement.” (P007015-P007490, at P007487-P007490).
388. In response to the larger spread being offered on K-ytril, this same internal

document discusses several options to mcrease Zofran’s spread “to balance the reimbursement

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spread which currently exists between Zofran and the market in which it competes. ...” The

pricing options considered for increasing the “spread” for Zofran® included:

Recommendation #1

4.5% price increase $178.97 to $187.02
Increase AWP 16 2/3% to 20%
$214.76 to $233.78 (8.5%)
3% Wholesaler $187.02 to $172.92 (chargeback)
Rebate $179.92 to $167.31 (rebate)

(11/14/94 - 1/31/95)
389. Inan effort to hide the fact that Glaxo was increasing the spread for Zofran®,

Glaxo elected to not only increase its AWP and provide rebates, but to also include a small actual
price increase. In describing the reason for an increase in the actual selling price, an internal

Glaxo document states:

The recommended muiti-tiered modification to current promotion,
should also provide an immediate resultant impact to weekly unit
sales without being easily intelligible by SKB as to the means by
which this was achieved. Thus, providing additional time before a
competitive response would be delivered.
390. Glaxo internal documents, however, recognized that as a result of its increasing

the spread for Zofran®, SKB would have two options:
Option 1: Decrease the purchase price of Kytl.
Option 2: Take a price increase to raise the AWP while
maintaining purchase price to generate a higher
spread than $52.00.
(P007015-P007490, at PO07489-P007490).
391. Jn order to increase the spread for Zofran®, Glaxo increased the AWP for a 20 ml
injection of Zofran® to $233.02 in January of 1995. This was discussed in an October 27, 1994

memo entitled “Zofran Pricing Recommendation” and further discussed at a Glaxo pricing

committee meeting on November 4, 1994. (P007015-P007490, at P007487-P007490).

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392. In February 1995, the Florida Infusion Chemo Net reported that Glaxo was
increasing the published AWP for Zofran®, but was specifically offering incentives to lower the
actual price offered to medical providers, thereby allowing medical providers to seek

remmbursement at inflated prices. Specifically:

Effective January 3, 1995. Glaxo has increased the acquisition

costs of Zofran injection. The new AWP is set at $233.02.

However, the company has provided incentives to the market place

which will ensure that Zofran price to physicians and clinics will

be lower than the contractual price available prior to the increase.
Letter from Bliley, Chairman Commerce Committee to Nancy Min DeParle, Sept. 25, 2000
(P007015-P007490, at P007046).

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394, In March 1996, Glaxo again increased the AWP for Zofran® by 4.8%. In
response, SKB immediately increased the AWP for Kytril by 4.8%. An internal SKB memo,
dated March 21, 1996, entitled “Kytril Price Increase,” states:

I recommend a 4.8% price increase effective March 25, 1996 for
all Kytril presentations. This is in response to a Glaxo Wellcome
price increase of 4.8% for Zofran effective March 8, 1996.

(P007015-P007490, at PG607078).

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396. Glaxo also knew that Zoiran® products were being marketed based on the spread
between the actual cost and the published AWP. For example, when Glaxo introduced the

Zotran® premixed IV bag, it used marketing materials which stated:

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Convenient

Costs Less Than Vial

Higher AWP

Better Reimbursement
(P007015-007490, at P007243).

397. Other internal Glaxo documents directly compared the “Profit Per Dose” and

“Profit as %” and “Profit Per Vial” of Zofran® to Kytril®. These comparisons also identified
that in order to increase the spread for Zofran®, Glaxo included “early pay disc” and “rebates”

and “incentive.”

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401. Ina September 27, 2000 article in USA Today, Glaxo spokesman Rick Sluder
(who received a copy of the October 24, 1994 memo described herein) discussed the issue of the
spread and blamed a system that set up a reimbursement method that relies on average wholesale
prices which are not actually “representative of actual prices.” Mr. Sluder, admitting that Glaxo
changed its wholesale prices to keep up with competitors who changed wholesale prices, stated
“We didn't want to put ourselves at a price disadvantage.” Mr. Sluder also admitted that the
marketing of Glaxo drugs is based, in part, on the spread. In fact, he noted that Glaxo’s sales
staff is briefed on the price advantages to doctors who bill and get reimbursed based upon the
AWP. (E-mail from Clapton to Vaughan dated Sept. 27, 2000 citing “How Drug Makers
Influence Medicare Reimbursements to Doctors; WALL STREET JOURNAL (P007501-P007506).

6. SKB’s Kytril

402. According to its internal documents (and prior to selling Kytril®’s global rights to
the Roche Group in December 2000), SKB also knew that by creating the spread for Kyiml®, it
could directly affect the amount of revenue medical providers receive and thereby affect overall

demand for Kymil®. Specifically, an August 6, 1996 internal SKB memo stated:

In the clinic setting however, since Medicare reimbursement is
based on AWP, product selection is largely based upon the spread
between acquisition cost and AWP.

* * *

From this analysis, there seems to be no other reason, other than
profitability, to explain uptake differentials between the hospital
and clinic settings, therefore explaining why physicians are willing
to use More expensive drug regimens.

(P007015-P007490, at P007249-P007250).
403. Internal SKB documents reveal how it marketed the spread. One internal

document entitled “Price Comparison of Kytriil and Zofran for Reimbursement” discussed how

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much additional revenue and “spread per patient” a medical provider would make by using

Kytril® due to its larger spread. It stated:

Kytril reimbursement for 5 patients treated $540.00 - Kytril 6
treated patients $423.12

Difference = $117.00 every 6 patients.
Use 5ht3 5 times a day = $2,340.00 month. $28,080.00 year more!
(P007015-P007490, at P007 117).

404. Other internal SKB documents entitled “Cost v. Profit” and “K ytril Profit Model”
compare Kytril® and Zofran® to demonstrate how much additional profii/revenue the medical
provider will receive by using Kytril®.

7. General Counsel Correspondence Between Glaxo and SKB

405. Most revealing is an exchange of correspondence between counsel for Glaxo and
SKB over Zofran® and Kytril® im which each accuse the other of fraud.

406. On February 6, 1995, Timothy D. Proctor, Senior Vice President, General
Counsel and Secretary for Glaxo, sent a letter to J. Charles Wakerly, Senior Vice President,
Director and General Counsel of SKB informing him of “several issues pertaining to the
advertising and marketing of Kytil”:

Glaxo’s sales representatives have encountered a substantial
amount of what appear to be “homemade” Kytril vs. Zofran cost
comparisons. It is our understanding that many of these pieces

have been generated through a company-provided lap top
computer program.

In addition, a significant number of these pieces (see Exhibits F-J)
contain direct statements or make references as to how institutions
can increase their “profits” from Medicare through the use of
Kytril. Some even go so far as to recommend that the medical
professional use one vial of Kytril for two patients (see Exhibit F)
but charge Medicaid for three vials. This raises significant fraud
and abuse issues which I am sure you will want to investigate.”

(P007015-P007490, at POO7 123-P007126).

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407. On February 22, 1995, Ursualy B. Bartels, Vice President and Associate General
Counsel for SKB, wrote in response that SKB was investigating Glaxo’s claims and asked
whether Glaxo had specific information regarding the improper marketing of Kytril. Mr. Bartels
also accused Glaxo of using false and misleading marketing materials regarding Zofran that rely

on the medical providers’ ability to garner more profit. Specifically, he stated:

Regarding similar concems, we would like to draw your attention
to reports we are receiving from our field force regarding
reimbursement issues. In an apparent effort to increase
reimbursement to physicians and clinics, effective 1/10/95, Glaxo
increased AWP for Zofran by 8.5%, while simultaneously fully
discounting this increase to physicians. The latter was
accomplished by a 14% rebate available to wholesalers on all non-
hospital Zofran sales on the multi-dose vial. The net effect of
these adjustments is to increase the amount of reimbursement
available to physicians from Medicare and other third party
payors whose reimbursement is based on AWP. Since the net
price paid to Glaxo for the non-hospital sales of the Zofran multi-
dose vial is actually lower, it does not appear that the increase in
AWP was designed to increase revenue per unit to Glaxo. Absent
any other tenable explanation, this adjustment appears to reflect
an intent to induce physicians to purchase Zofran based on the
opportunity to receive increased reimbursement from Medicare
and other third party payors. In fact, we have had numerous
verbal reports from the field concerning Glaxo representatives
who are now selling Zofran based on the opportunity for
physicians to receive a higher reimbursement from Medicare and
other third-party payors while the cost to the physician of Zofran
has not changed.

(P0070 15-007490, at P007478-P007481) (emphasis added).

408, On April 25, 1995, Adrianna L. Carter, Glaxo Assistant General Counsel,
responded to SKB’s February 22, 1995 letter. Ms. Carter provided, pursuant to SKB’s request,
numerous additional examples of false and misleading marketing materials concerming “cost
comparisons distributed to health care professionals by SmithKline representatives.” Ms. Carter
also denied SKB’s allegations regarding “fraud and abuse” over the price increase of Zofran.
However, Ms. Carter did admit that the AWP price increase for Zofran® does not affect the

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actual cost to medical providers and that Glaxo’s sales representatives were using the “spread” to
gain market share. Specifically, Ms. Carter stated:
It is true that, despite a price increase, some physicians and other

healthcare professionals will not see the higher price as the result
of rebates or other incentives.

* * *

It is also true that our sales representatives have been explaining
the relationship between the price and Medicare reimbursement for
Zofran to physicians.

* * *

Finally, Ms. Carter stated that despite SKB’s assertions that any
alleged improper marketing of Kytril would end, “Unfortunately,
despite your efforts, these activities are still ongoing.”
(P007015-007490, at POO7127-P007 131).
409. The fact that Glaxo and SKB each accused the other of similar conduct, but
neither took any action to bring it to the attention of the public or the appropriate authorities, is
evidence that each of them were engaged mm an ongoing scheme to defraud the Plaintiffs and .

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8. Other Improper Incentives

410. In addition to marketing the spread on its products, the GSK Group has also used
other methods to induce physicians and other intermediaries to use its drugs such as rebates and
free samples in order to increase the spread between acquisition costs and reimbursement.

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412. An advertisement in the Florida Infusion Chemo net reveals that SKB created the
spread not only by artificially inflating the AWP for Kytril®, but also by providing discounts and

rebates. Specifically, the advertisement states:

We have been notified that, effective April 1, 1995, SmithKline’s
long running promotional rebate for Kytril purchases will come to
a very successful conclusion.

(P00701 5-007490, at P007187).

413. SKB also knew that medical providers were billing Plaintiffs and the Class for a
1 mg single dose vial per patient, but actually were using less than the full single dose per
patient. Depending on the weight of a patient, medical providers were able to use less of the
drug, #e., the lighter the patient, the less Kytril® was needed. SKB subsequently introduced a
Kyimi® 4 mg Multi-Dose vial that allowed medical providers to bill 6 treatments for the cost of
4. For example, an SKB marketing document entitled “Kytril Vial Usage” states, “You can use
only three vials of Kytril for four patients.” (P007015-007490, at P007068 and P007455).

414. SKB also used other financial incentives to decrease medical providers’ costs and
thereby increase profits. For example, SKB promised to contribute to research and education
programs through the OnCare Foundation if OnCare agreed to use K-ytzil instead of a competing
drug. (P007015-007490, at P007061).

9. Specific GSK Group AWPs Documented by the DOJ

415. Ina report published by the DHHS (the “DHHS Report”), the DOJ documented
that the published AWPs for various dosages of Zofran and Kytril manufactured by The GSK
Group were substantially higher than the actual prices listed by wholesalers. The chart below
sets forth the AWPs identified by the DOJ and the spread associated with one particular dosage
of each drug. These figures compare the DOJ’s determination of an accurate AWP for that
particular dosage, based upon wholesalers’ price lists, with the AWP reported by The GSK
Group in the 2001 Red Book.

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GSK 2001 DOJ Determined
Red Book Actual Percentage
Drag AWP AWP Difference Spread
Ondanestron (Zoftan} $128.24 $22.61 $101.63 450%
Granisetron (Kytril) $195.20 $139.04 56.16 40%

(P006299-P006316).

416. As set forth above, the GSK Group’s scheme to inflate its reported AWPs and
market the resulting spread to increase the market share of its drugs has resulted in excessive
overpayments by Plaintiffs and the Class.

M. Hoffman-LaRoche

417. Hoffman-LaRoche engages in an organization-wide and deliberate scheme to
inflate AWPs. Hoffman-LaRoche has stated fraudulent AWPs for all or almost all of its drugs,
including, Kytril and CellCept. The specific drugs of Hoffman-LaRoche for which relief is

sought in this case are set forth in Appendix A and are identified below:

HOFFMAN- Cellcept mycophenolate Immunosuppressant
LaROCHE mofetil Used to lower the body's natural immunity in
patients who receive organ transplants
Cellcept IV mycophenalate Tmmunosuppressant
mofetil hel Used to lower the body's natural immunity in
patients who receive organ transplants
Kytril granisetron hel Antiemetic (Gastrointestinal Agent}
Used to prevent the nausea and vomiting that
may occur after treatment with anticancer
medicines (chemotherapy) or with radiation
therapy

1. Hoffman-LaRoche Controls the Published AWP for Its Products
418. Hoffman-LaRoche has controlled and set the, AWPs for its pharmaceutical

products through direct communications with industry compendia during the Class Period.

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2. Inflated Hofiman-LaRoche AWPs From Hoffman LaRoche Price Lists
419. According to the information provided on Hoffman-LaRoche’s own website, the
published AWPs for Kytril and CellCept were higher than the actual prices provided to

wholesalers.

3. Hoffman-LaRoche Provided Free Goods and Other Incentives

420. In addition to marketing the spread, Hoffman-LaRoche has utilized other
impermissible inducements to stimulate sales of its drugs. These inducements were designed to
result in a lower net cost to the provider while concealing the actual wholesale price beneath a
high invoice price. By utilizing “off-invoice” inducements, Hoffman-LaRoche provided
purchasers with substantial discounts meant to gain their patronage while maintaining the fiction
of a higher wholesale price.

421. As set forth above, Hoffman-LaRoche’s scheme to inflate its reported AWPs and
market the resulting spread to increase the market share of its drugs and its use of other “off
invoice” rebates and financial inducements to its customers has resulted in excessive
overpayments by Plaintiffs and the Class.

N. Immunex

422,  Immunex engages in an organization-wide and deliberate scheme to inflate

AWPs. Immunex has stated fraudulent AWPs for all or almost all of its drugs, including those

set forth below. The specific drags of immunex for which relief is sought in this case are set

forth in Appendix A and are identified below:

IMMUNEX Leukine sagramostin Antineutropenic Agent

Used to help produce bone marrow and white
blood cells
Novantrone mitoxane Antineoplastic
hydrochloride Used in the treatment of multiple sclerosis and
various forms of cancer

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Thioplex lyophilized thiotep2 | Antineoplastic
Used in the treatment of ovarian and breast
cancer, lymphoma and bladder tumors
leucovorin calcium Antianemic Agent (Blood Modifier)

Used in the treatment of anemia
methotrexate sodium | Antineoplastic

Used in the treatment of various forms of
cancer

1. Immunex Has Been the Target of Government Investigations

423. In commection with its scheme to inflate AWPs, Immunex has been investigated
by the United States Department of Justice, the Office of Inspector General of the Department of
Health and Human Services, the Attormey General for the State of Texas, and the Attorney
General for the State of California.

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The free samples would be used to
offset the total cost associated with purchases of its drugs, thereby increasing the spread, while
also concealing the actual cost of the drug from Plaintiffs and the Class.

5. Specific Immunex AWPs Documented by the DOJ

431. inareport published by the DHHS (the “DHHS Report”), the DOJ documented at
least 7 instances where the published AWPs for various dosages of 2 drugs manufactured by
Immunex were substantially higher than the actual prices listed by wholesalers. The chart below
sets forth the 2 drugs identified by the DOJ and the spread associated with one particular dosage
ofeach drug. These figures compare the DOJ’s determination of an accurate AWP for that

particular dosage, based upon wholesalers’ price lists, with the AWP reported by Immunex in the

2001 Red Book.
2001
Red Book DOI Determined Percentage
Drug AWP Actual AWP Difference Spread
Leucovorin Calcium $137.94 $14.58 $123.36 846%
Methotrexate Sodium $20.48 $7.10 313.38 188%

(PG06299-PG063 16).

432. Jnareport published by DHHS in 1997, the Department undertook an analysis of
the twenty drug codes that represented the largest dollar outlays to the Medicare Program and
compared Medicare’s payments with the prices available to the physician and supplier
communities. For mitoxantrone hydrochloride, sold by Immunex under the brand name

Novantrone, the DHHS found that Medicare paid $172.81, while the actual average wholesale

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price was $142.40, resulting in a spread of 21.36%. “Excessive Medicare Payments for
Prescription Drugs” (Dec. 1997).

6. Inflated AWPs From Immunex Price Lists

433. Inresponse to government subpoenas, Immunex produced numerous price ksts
setting forth spreads between AWPs and prices offered to wholesalers, providers and other
intermediaries. A review of those price lists reveals that Immunex has consistently offered drugs
and other solutions to its customers at prices significantly below the published AWP and that the
spread was of great importance to its customers,

434. As set forth above, Immunex’s scheme to inflate its reported AWPs and market
the resulting spread to increase the market share of its drugs has resulted in excessive
overpayments by Plaintiffs and the Class.

7.

435.
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Immumnex
effectively hid the AWP spread from Plaintiffs and the Class.
oO. The Johnson & Johnson Group (J&J, Centocor and Ortho)

436. The Johnson & Johnson Group engages in an organization-wide and deliberate
scheme to inflate AWPs. The Johnson & Johnson Group has stated fraudulent AWPs for all or
almost all of its drugs, including those set forth below. The specific drugs of the Johnson &
Johnson Group for which relief is sought in this case are set forth in Appendix A, and are set

forth below:

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JOHNSON &
JOHNSON GROUP
(J&J, Janssen, McNeil,
Ortho and

rabeprazole sodium

Gastric Acid Pump Inhibitor (Gastrointestinal

Agent}
Used in the treatment of gastroesophageal
reflux disease and duodenal ulcers

Centocor)

Bicitra

sodium citrate &
citric acid

Alkalizer
Used in the prevention of kidney stones

Duragesic

fentanyl!

Analgesic
Used in the treatment of chronic pain

Elmiron

pentosan polysulfate
sodium

Anti-Inflammatory Agent
Used for relief of pain associated with
interstitial cystitis

Erycette

erythromycin

Antiacne Agent; Antibacterial Agent
Used to help control acne

Flexeril

cyclobenzaprine

Skeletal Muscle Relaxant (Analgesic)
Used in the treatment of muscle spasm
associated with musculoskeletal conditions

Flexin

ofloxacin

Antibacterial Agent

Used in the treatment of pneumonia,
bronchitis, gonorhea and certain other
infestions

Grifulvin

griseofulvin
Microsize

Antifungal Agent
Used to treat fungus infections of the skin,
hair, fingernails, and toenails

Haldol

haloperidol lactate

Antiemetic (Gastrointestinal Agent);
Antipsychotic (Psychotherapeutic Agent}
Used to treat nervous, mental, and emotional
conditions

Haldol
Decanoate

haloperidel decanoate

Antiemetic (Gastrointestinal Agent);
Antipsychotic (Psychotherapeutis Agent)
Used to treat nervous, mental, and emotional
conditions

Levaquin

levofloxacin

Antibacterial Agent
Used to treat bacterial infections in many
different parts of the body

Monistat

miconazole nitrate

Antifungal Agent
Used in the treatment of yeast infections

Mycelex

clotrimazole

Antifungal Agent
Used in the treatment of candidiasis and tinea
versicolor

Pancrease

amylase-lipase-
protease

Digestant; Enzyme, Pancreatic
(Gastrointestinal Agent)

Used in the treatment of gastrointestinal
orders

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Parafon Fort ehlorzoxazone Skeletal Muscle Relaxant (Analgesic)
Used to relax certain muscles and relieve the
pain and discomfort caused by strains, sprains,
or other injuries to muscles

Polycitra potassium & sodium | Alkatizer

citrates w/ cittic acid | Used in the prevention of kidney stones

Procrit epoetin alfa Antianemic
Used in the treatment of anemia in HIV-
infected, cancer or chronic renal failure
patients

Regranex becaplermin Biological Response Modifier
Used in the treatment of diabetic neuropathic
ulcers

Remicade infliximab Anti-Inflammatory Agent; Antirheumatic
Agent
Used to treat Crohn's disease and rheumatoid.
arthritis

Reminyl galantarnine Cholinesterase Inhibitor (Central Nervous

hydrobromide System Agent)

Used in the treatment of dementia of the
Alzheimer’s type

Renova tretinoin Antiacne Agent
Used for mitigation of fine wrinkles and other
attributes of facial skin

Retin-A tretinoin Antiacne Agent
Used to treat acne

Retin-A Micro | tretinoin microsphere | Antiacne Agent
Used to treat acne

Risperdal risperidone Antipsychotic Agent (Psychotherapeutic
Agent)
Used to treat the symptoms of psychotic
disorders

Spectazole econazole nitrate Antifungal Agent
Used to treat infections caused by a fungus

Sporanox itraconazole Antifungal Agent
Used in the treatment of various fungal
infections

Terazol terconazole vaginal Antifungal Agent
Used to treat yeast (fungus) infections of the
vagina

Testoderm testosterone Androgen; Antianemic Agent; Antineoplastic
Used for replacement therapy in males with a
deficiency or absence of testosterone

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Tolectin tolmetin sodium Antirheumatic Agent
Used to relieve some symptoms caused by
arthritis
‘Topamax topiramate Anticonvulsant
Used to help control some types of seizures in
the treatment of epilepsy
Tylox acetaminophen w/ Analgesic
codeine Used to relieve pain.
Tylenol with
codeine
Ultracet tramadol- Analgesic
acetaminophen Used to relieve pain
Ultram tramadol hel Analgesic
Used for management of pain
Urispas flavoxate Autonomic Nervous System Agent
hydrochloride Used in the treatment of symptoms of various
urologic disorders.
Vascor bepridil hek Antianginal Agent
Used to relieve and control angina pectoris
and hypertension
1. The Johnson & Johnson Group Has Been the Target of Government
Investigations

437, In connection with its scheme to inflate AWPs, the Johnson & Johnson Group has
been investigated by the General Accounting Office and the Office of the Attomey general for
the Commonwealth of Massachusetts,

438.

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439. The Johnson & Johnson Group has engaged in an ongoing deliberate scheme to
inflate AWPs and to market the spread to increase the sales of its products. In a report published

by the GAO, federal investigations have documented fraudulently inflated AWPs reported for

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epotein alpha (sold by J&J as Procrit). J&J is identified in various annual Red Book publications
as one of two sources for epoetin alfa. The other source for epoetin alfa is Defendant Amgen.®

449. In September 2001, the GAO reported that epoetin alfa accounted for the second
highest percentage of Medicare expenditures on drugs in 1999, accounting for 9.5% of spending
for prescription drugs by Medicare in 1999 and for 3.4% of all Medicare allowed services.
These massive federal expenditures for epoetin alfa, caused by the J&J Group and Amgen’s
AWP scheme as well as the inflated cost to Plaintiffs and members of the Class, are even more
outrageous given the fact that the research and development of epoetin alpha was originally
underwritten by grants from the federal government.’

441. By way of further example, the J&J Group has deliberately overstated and
continues to overstate the AWP for Remicade®. The published AWP for Remicade® continued
to increase each year during the class period. For example, the AWP was listed as $611.33 fora
100 mg vial of Remicade® as of November 1999, and rose to $665.65 when listed in the 2001
edition of the Red Book. At the same time, J&J deliberately marketed and promoted the sale of
Remicade® to physicians based on the availability of inflated payments made by Medicare,
assuring them that they would make a significant profit from the purchase of Remicade® as a
result of the spread between the actual price to physicians and reimbursement based on the
published AWP.

442. The J&J Group created promotional materials and worksheets to allow them to
market the spread between the published AWP and the actual selling price to doctors. For
example, a publication accessible through Defendants’ web sites entitled “Office-Based Infusion

Guide” demonstrates Defendants’ aggressive marketing of this spread, specifically noting that,

* Amgen markets epoetin alfa for use in the treatment of dialysis patients while the right to market epoetin alfa
for all other uses is licensed to Defendant J&J.

7 Epogen® and Procrit® are based on different uses of a patented process technology developed at Columbia
University with support from grants from the NIH. Columbia licensed their technology to Amgen for Epogen® and
to Johnson & Johnson for Procrit®. NIH Response to the Conference Report Request for a Plan to Ensure
Taxpayers’ Interests are Protected, Department Of Health And Human Services National Institutes Of Health, July
2001,

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“Tdjepending on reimbursement, office-based infusion may provide a financial impact to a
physician’s practice.” Moreover, the “Financial Analysis” section of the guide includes a
“REMICADE® (infliximab) Financial Impact Worksheet,” which enables doctors see in actual
dollars how much additional revenue the use of Remicade® would bring to their practice.

443. As set forth above, the J&J Group’s scheme to inflate its reported AWPs and
market the resulting spread to increase the market share of its drugs has resulted in excessive
overpayments by Plaintiffs and the Class.

444.

Table I

2. J&J Concealed Its AWP Manipulation
445.  J&J deliberately acted to conceal its fraudulent reporting and marketing of the

AWP spread. J&J routinely required that its customers keep secret the prices they were being
charged for J&J drugs. (J&1IG01022; J&IO00110; 1&J001430; J&IONG1483).

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P. Novartis

446.

Novartis engages in an organization-wide and deliberate scheme to inflate AWPs.

Novartis has stated fraudulent AWPs for many of its drugs. The specific drugs of Novartis for

which relief is sought in this case are set forth in Appendix A.

NOVARTIS

Clozaril

clozapine

Antipsychotic (Psychotherapeutic Agent)
Used to treat schizophrenia

Combipatch

estradiol &
norethindrone acetate

Hormone
Used to treat symptoms of menopause

Comtan

entacapone

Antidyskinetic Agent
Used in combination with levodopa/carbidopa
to treat Parkinson's

Estraderm

estradiol

Antineoplastic; Hormone
Used to relieve signs of menopause

Exelon

tivastigmine tartrate

Cholinesterase Inhibitor (Central Nervous
System Agent)

Used to treat the symptoms of mild to
moderate Alzheimer's disease

Femara

letrozole

Antineoplastic
Used to treat certain types of breast cancer in
women

Lamisil

terbinafine hel

Antifungal Agent
Used to treat fungus infections of the scalp,
body, groin, feet, fingernails, and toenails

Lamprene

clofazimine

Antibacterial Agent
Used to treat leprosy

Lescol

fluvastatin sodium

HMG-CoA Reductase Inhibitor
(Cardiovascular Agent)

Used to lower levels of cholesterol and other
fats in the blood ‘

Lotensin

benazepril hel

ACE Jahibitor (Cardiovascular Agent)
Used to treat hypertension

Lotensin HCT

benazepril & hetz

ACE Inhibitor (Cardiovascular Agent)
Used to treat hypertension

Lotrel

amlodipine besylate-
benazepril hel

ACE Inhibitor (Cardiovascular Agent}
Used to treat hypertension

Miacalcin

calcitonin (salmon)

Calcitonin (Hormone}

Used to treat Paget's disease of bone. Also
used to prevent comtinuing bone loss in
women With postmenopausal osteoporosis and
to treat hypercalcemia

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Parlodel

bromocriptine

mesylate

Antihyperprolactinernic; Growth Hormone
Suppressant

Used to treat certain menstrual problems or to
stop milk production. Also used to treat
infertility and Parkinson’s disease

Ritaim

methylphenidate hel

Central Nervous System Stimulant
Used to treat attention-deficit hyperactivity
disorder (ADHD) and narcolepsy

Starlix

nateglinide

Antidiabetic Agent
Used to treat a type of diabetes mellitus (sugar
diabetes) called type 2 diabetes

Tegreto!

carbamazepine

Anticonvulsant; Antipsychotic
(Psychotherapeutic Agent}

Used to control some types of seizures in the
treatment of epilepsy

Trileptal

oxcarbazepine

Central Nervous System Agent:
Anticonvulsant Used in the treatment of
partial seizures

Vivelle

estradiol

Antineoplastic; Hormone
Used to relieve signs of menopause

Vivelle-DOT

estradiol

Agtineoplastic; Hormone
Used to relieve signs of menopause

1. Novartis Has Been the Target of Government Investigations

447. In connection with its scheme to inflate AWPs, Novartis has been investigated by

the Office of Inspector General of the Department of Health and Human Services. The Office of

the Inspector General published 2 report for the Department of Health and Human Services in

2000 documenting Novartis’ inflated AWP for Aredia, its brand of pamidronate disodium.

2. Inflated Novartis AWPs From Novartis Price Lists

448. Asset forth above, Novartis’ scheme to inflate its reported AWPs and market the

resulting spread to increase the market share of its drugs has resulted in excessive overpayments

by Plaintiffs and the Class.

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Q. Pfizer

449. Pfizer engages in an organization-wide and deliberate scheme to inflate AWPs

and has stated fraudulent AWPs for many of its drugs. The specific drugs of Pfizer for which

relief is sought in this case are set forth in Appendix A, and are identified below:

PFIZER

Accupril quinapril hel ACE Inhibitor (Cardiovascular Agent)
Used in the treatment of hypertension

Cardura doxazosin mesylate Autonomic Nervous System Agent
Used to treat hypertension and benign
prostatic hypertrophy

Estrostep FE norethindrone-ethinyl Oral Contraceptive

estradiol-fe Also used in the treatment of acne
Femhrt 1/5 ethinyl estradiol- Estrogen Combination (Hormone)
norethindrone acetate Used in the treatment of menopause and

prevention of postmenopausal osteoporosis

Lipitor atorvastatin calcium Antilipemic Agent (Cardiovascular Agent)
Used to lower cholesterol

Nardil phenelzine sulfate Antidepressant (Psychotherapeutic Agent)
Used in the treatment of depression

Neurontin gabapentin Anticonvulsant
Used in the treatment of epilepsy

Zithromax azithromycin Macrolide Antibiotic Agent (Anti-Infective
Agent)
General antibiotic

Zoloft sertraline hel Serotonin Reyptake Inhibitor
{Psychotherapeutic Agent: Antidepressant)
Used in the treatment of depression

Zyrtec cetirizine hel Antihistamine
Used in the treatment of allergic rhinitis

450. Pfizer manufactuares and distributes some of the nation’s most popular and

highest selling brand name drugs.

451i. Historically, Pfizer almost never changes the “spread” between the posted AWP

and posted WAC for a Pfizer brand name product. Once initially launched, a Pfizer brand name

product continues to bear the same difference between the posted AWP and the posted WAC

{é.g., 16 2/3%, or 20%, or sometimes 25%).

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452. In January 2002, Pfizer announced a prescription drug discount card that would
be available to elderly and poor consumers along eligibility criteria similar to that of other
discount cards.

453.  Atthe same time, January 2002, Pfizer secretly increased the AWP/WAC spread
to 25% for ail of its brand name drugs. Ifa drug theretofore had a posted AWP/WAC spread of
20%, it was increased to 25% (something which Pfizer, and indeed ali other drug companies,
almost never do). If a Pfizer brand name drug already had had a 25% AWP/WAC spread, it
remained so.

454. By doing so, Pfizer knew that the purpose and effect of these new listings would
be to increase reimbursement payments by end payors by amounts that would be greater than
actual transaction costs for other participants in the distribution chain (ie., wholesalers,
distributors, pharmacies and PBMs). Also in doing so, Pfizer knew that the posted AWPs for
many of their brand name drugs would become more misrepresentative of actual average
wholesale prices given that the increased AWP/WAC spread bore no relation to actual transation
cost changes occurring in the marketplace.

455. Pfizer has been investigated by the Office of the Inspector General of the
Department of Human Health Services and has entered into a $49 million settlement arising from
illegal practices with respect to Lipitor. OIG-HSS found that Pfizer has been providing
unrestricted educational grants and rebates that were in fact discounts off the purchase price of
Lipitor. Pfizer concealed these discounts from states who were entitled to receive the “best
price” for Lipitor.

456. The provision of educational grants and rebates on Lipitor also had the effect of
inflating the reported AWP.

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457.

On information and belief, based in part due to the substantial nature of the

spreads between AWP and WAC identified in Appendix A, Pfizer has inflated its AWP on other

drugs at issue.

R. The Pharmacia Group (Pharmacia and P&U)

458.

The Pharmacia Group engages in an organization-wide and deliberate scheme to

inflate AWPs. The Pharmacia Group has stated fraudulent AWPs for all or almost all of its

drugs, including those set forth below. The specific drugs of The Pharmacia Group for which

relief is sought in this case are set forth in Appendix A, and are set forth below:

PHARMACIA GROUP | Adriamycin doxorubicin Antineoplastic
(Pharmacia and P&U) hydrochloride Used in the treatment of various forms of

cancer

Adrucil fluorouracil Antimetabolite; Antineoplastic
Used in the treatment of various forms of
caticer

Amphocin amphoteric b Antifungal (Anti-Infective Agent)
Used in the treatment of serious fimgal
infections

Celebrex celecoxib Analgesic; Antirheumatic Agent
Used to relieve some symptoms caused by
arthritis

Cleocin-T clindamycin Antibacterial Agent (Anti-Infective Agent}

phosphate (topical) Used to treat bacterial infections

Cytosar-U cytarabine Antineoplastic
Used in the treatment of cancer of the blood

Depo- testosterone Androgen (Hormone}

‘Testosterone cypionate Used to replace hormones or stimulate growth

Neosar cyclophospamide Alkylating Agent (Antineoplastic)
Used in the treatment of various forms of
cancer as well as some kidney disease

Solu-Cortef hydrocortisone Anti-Inflammatory Agent; Skin and Mucous

sodium sucemate

Membrane Agent

Used to provide relief for inflamed areas of
the body. Also used as replacement therapy in |
adrenocortical insufficiency

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rere

Medrol

sodium succinate

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Anti-inflammatory Agent

Used to provide relief for inflamed areas of
the body. Also used as replacement therapy in
adrenocortical insufficiency

Toposar

etoposide

Antineoplastic
Used in the treatment of testicular and lung
cancer

Vincasar

vincristine sulfate

Antineoplastic
Used in the treatment of various forms of
leukemia and cancer

bleomycin sulfate

Antineoplastic; Antibiotic Agent (Anti-
Infective Agent)

Used in the treatment of various forms of
cancer

1. The Pharmacia Group Has Been the Target of Government Investigations

459.

In connection with its scheme to inflate AWPs, The Pharmacia Group has been

investigated by the Department of Justice, the Texas Attomey General, the California Attomey

General, the Massachusetts Attorney General, the Attorney General of the State of Connecticut,

the Attorney General of the State of New York, and the Department of Health and Human

Services Office of Inspector General.

460,

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461.

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4. The Pharmacia Group’s AWP Manipulation Benetited Providers at the
Expense of the Class

462. The Pharmacia Group has engaged in an ongoing deliberate scheme to inflate

AWPs. According to one member of the Congressional Ways and Means Committee:

The evidence . . . indicates that [Pharmacia & Upjohn] have
knowingly and deliberately inflated their representations of the
average wholesale price (““AWP”), wholesale acquisition cost
(“WAC”) and direct price (“DP”) which are utilized by the
Medicare and Medicaid programs in establishing drug
reimbursements to providers.

*e Ook oe

fT]hese practices must stop and ... these companies must retum
the money to the public that is owed because of their abusive
practices.

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See Extension of Remarks of U.S. Representative Pete Stark in the House of Representatives,
October 3, 2000 (P007545-P007547).
463. Ina letter dated October 3, 2000 to Pharmacia (with accompanying exhibits},

Representative Stark addressed the Pharmacia Group’s illegal practices:

The manipulated disparities between your company’s reported
AWPs and DPs are staggering. For example, in 1997, Pharmacia
& Upjobn reported an AWP of $946.94 for 200 mg. of Adriamycin
PFS while offering to sell it to American Oncology Resources
(AOR) for $168.00 and to Comprehensive Cancer Center for
$152.00 (Composite Exhibit “1"). Your company then
ageressively marketed its cancer drugs to health care providers by
touting financial inducements and other types of incentives.
Pharmacia & Upjohn created and marketed the financial
inducements for the express purpose of influencing the
professional judgment of doctors and other health care providers in
order to increase the company’s market share.

* ok

Pharmacia & Upjobn’s own internal documents . . . reveal that the
company abused its position as a drug innovator in an initial
Phase lif FDA clinical trial for a cancer drug used to treat
lymphoma (Composite Exhibit “2”) (emphasis in original).

*_.. Clinical Research Trials

Initial Phase III Protocol trial for “Oral Idamycin” in
lymphomas. This trial will offer AOR $1.1M [million] in
additional revenues. Two hundred twenty-five (225)
patients at $5,000 per patient . . . (emphasis added by Rep.
Stark)

The above . . . items are contingent on the signing of the
AOR Disease Management Partner Program. AOR’s
exclusive compliance to the purchase of the products listed
in the contract product attachment is also necessary for the
above items to be im effect.”

The linking of doctor participation in FDA clinical drug trials to
their purchase and administration of profit-generating oncology
drugs is entirely inconsistent with the objective scientific testing
that is essential to the integrity of the trial.

mm ok Ok

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It is clear that Pharmacia & Upjohn targeted health care providers,
who might be potential purchasers, by creating and then touting the
windfall profits arising from the price manipulation. For example,
Pharmacia & Upjohn routinely reported inflated average wholesale
prices for its cancer drug Bleomycin, 15u, as well as direct prices.
The actual prices paid by industry msiders was in many years less
than half of what Pharmacia & Upjohn represented. Pharmacia &
Upjohn reported that the average wholesale price for Bleomycin,
15u, rose from $292.43 to $309.98, while the price charged to
industry insiders fell by $43.15 (Composite Exhibit “4’”).

OOK OF

Pharmacia & Upjohn reported price increases in October 1997
with full knowledge that the true prices of the drugs were falling.
For example, Composite Exhibit “7” reveals that Pharmacia &
Upjohn voluntarily lowered its price of Adriamycin PFS 200 mg to
$152.00 while reporting an AWP of $946.94:

“Dear Willie,

A (VPR) Voluntary Price Reduction will become
effective May 9, 1997. The wholesalers have been
notified, however it may take two weeks to
complete the transition .. .”

Additionally, internal Pharmacia & Upjohn documents secured
through the Congressional investigations show that Pharmacia &
Upjohn also utilized a large array of other inducements to stimulate
product sales. These inducements, including “educational grents”
and free goods, were designed to result in a lower net cost to the
purchaser while concealing the actual price beneath a high invoice
price. Through these means, drug purchasers were provided
substantial discounts that induced their patronage while
maintaining the fiction of a higher invoice price — the price that
corresponded to reported AWPs and inflated reimbursements from
the government. Composite Exhibit “8” highlights these
inducements:

AOR/PHARMACIA & UPIOHN PARTNERSHIP PROPOSAL:
Medical Education Grants. A $55,000 grant has been committed
for 1997 for the AOR Partnership for excellence package inchiding
Education/Disease Management, Research Task Force, AOR
Annual Yearbook. A $40,000 grant to sponsor the AOR monthly
teleconference. This sponsorship was committed and complete in
February 1997 _..

PHARMACIA & UPJOHN, INC. INTEROFFICE MEMO:
If needed, you have a “free goods” program to support your efforts
against other forms of generic doxorubicin .. .

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Use your “free goods” wisely to compete against other generic
forms of Adriamycin, not to shift the customer to direct shipments.
The higher we can keep the price of Adriamycin, the easier it is for
you to meet vour sales goals for Adriamycin (emphasis added by
Rep. Stark).

(P007613-P007632).

464. Pharmacia’s marketing pitches, as quoted by U.S. Rep. Pete Stark ina
September 28, 2000 letter to Alan F. Holmer, President of the Pharmaceutical Research and
Manufacturers of America, promoted a physician’s ability to profit at the expense of Medicare
and its beneficiaries:

PHARMACIA: Some of the drugs on the multt-source list offer
you savings of over 75% below list price of the drug. For a dmg
like Adriamycin, the reduced pricing offers AOR a reimbursement
of over $8,000,000 profit when rembursed at AWP. The spread
from acquisition cost to reimbursement on the multi-source
products offered on the contract give AOR a wide margin for
profit.

(P007548-P007588).
465. In 1997, Pharmacia sent to a clinic a proposal listing the AWP and the contract
price at which several drugs would be sold to the provider. The differences are staggering and

just a few are noted below:

Drug aie ee ae :

Adriamycin (10 mg} 46.00 7.50

Adriamycin (50 mg} : 230.00 - 37,50

Neosar (2 2) 86.00 18.00

Toposar (1 2) 1,330.75 120.00

Vineasar (2 mg) 741.50 7.50
(P007615).

5. Specific Pharmacia AWPs Documented by the DOJ
466. In areport published by the DHHS, the DOJ documented at least 43 instances

where the published A WPs for various dosages of drugs manufactured by The Pharmacia Group

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were substantially higher than the actual prices listed by wholesalers. The chart below sets forth
the drugs identified by the DOJ and the spread associated with one particular dosage of each
drug. These figures compare the DOJ’s determination of an accurate AWP for that particular

dosage, based upon wholesalers’ price lists, with the AWP reported by The Pharmacia Group in

the 2001 Red Book.
Drag The Pharmacia DOF Difference Spread
Group's 2001 Determined
Red Book AWP Actual AWP
Amphotercin B $36.26 $16.00 $20.26 127%
Bleomycin Sulfate $309.98" $158.67 $151.31 96%
Clindamycin Phosphate $93.60 $61.20 $32.40 53%
Cyclophospamide $6.29 $3.92 $2.37 60%
Cytarabine $8.98 $4.06 $4.92 122%
Doxorubicin HCL $1104.13 $150.86 $933.27 632%
Etoposide $157.65 $9.47 $148.18 1,565%
Fluorouracil $3.20 $1.47 $1.73 118%
Hydrocortisone Sodium $2.00 $1.55 $.45 29%
Succinate
Metholprednisolone $2.05 $1.45 5.60 41%
Sodium Succinate
Testosterone Cyptonate $17.01 $11.79 $5.22 44%
Vincristine Sulfate $43.23 $5.10 $38.13 748%

467. In OFG report OEI-03-00-00310, the government noted that 20 mg of irinotecan,
which according to the Red Book is manufactured only by The Pharmacia Group, had a Medicare
Median of $117.81 and a Catalog Median of $98.63, resulting in a spread of 19.45%. (P006398-
P006424).

468. The GAO issued a report entitled “Payments for Covered Outpatient Drugs
Exceed Providers’ Cost” (GAO-01-1118) wherein it found that irinotecan had an Average AWP

® Calculation based on the AWP listed in the 2000 Red Book.

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of $141.32, the Average Widely Available Discount from AWP to physicians for irinotecan was
22.9%, and the drug constituted 2.0% of the total amount of Medicare spending in 1999.
(P005546-P005578).
469. As of April 2000, another Pharmacia Group drug, Toposar® (etoposide), had an
AWP of $28.38. The DOJ found that retailers were buying it for $1.70. (P006299-006316).
470. Similarly, by letter dated September 25, 2000 to the HCFA Administrator, the

Chairman of the Commerce Committee revealed that:

[I]n 1998, Pharmacia-Upjohn’s Bleomycin had an AWP of

$309.98, but health care providers could purchase it for $154.85.

In 1997, Pharmacia-Upjohn’s Vincasar could be purchased for

$7.50, while the AWP was a staggering $741.50.
See letter dated May 25, 2000 from U.S. Rep. Thomas J. Bliley to Nancy-Ann Min DeParle,
HCFA Administrator. (P007015-P007490).

471. Exhibit 1 to U.S. Rep. Pete Stark’s September 28, 2000 letter to Alan F. Holmer,
President of the Pharmaceutical Research and Manufacturers of America, reveals that while the
AWP for | mg of Vincasar® (vincritine sulfate) was $370.75 in 1997, one physician group’s
(American Oncology Resources) price in 1997 was only $4.15. (P007515). Similarly, while the
AWP for 2 mg of Vincasar® was $741.50, AOR’s actual pre-April 1997 price was $7.75 (in fact,
The Pharmacia Group had offered to reduce it to $7.50). fd. As of April 2000, Adriamycin had

a reported AWP of $241.36, while the real wholesale price was $33.43.

6.
472.
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Table 1

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7. The Pharmacia Group Provided Free Goods and Other Incentives

473. In addition to marketing the spread, The Pharmacia Group has utilized other
impermissible inducements to stimulate sales of its drugs. These inducements were designed to
result in a lower net cost to the provider while concealing the actual wholesale price beneath a
high invoice price. By utilizing ‘‘off-invoice” inducements, The Pharmacia Group provided
purchasers with substantial discounts meant to gain their patronage while maintaining the fiction
of a higher wholesale price.

474, The government investigators also uncovered an October 3, 1996 internal

memorandum wherein Pharmacia told three oncology sales representatives:

Our competitive intelligence tells us that our pricing on
Adriamycin, although higher than generics, is in the “ball park” for
you to attain the customers Adriamycin business. If needed, you
have a “free goods” program to support your efforts against other
forms of generic doxorubicin.

You should not have to use “free goods” to steer customer [sic]
away from NSS or OTN. OTN and NSS Adriamycin pricing is
competitive. Use your “free goods” wisely to compete against

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